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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-789V
                                     Filed: February 2, 2016

* * * * * * * * * * * * * * * *                          UNPUBLISHED
MICHELENE FALSINI,                          *
                                            *            Special Master Hamilton-Fieldman
              Petitioner,                   *
                                            *            Joint Stipulation on Damages;
v.                                          *            Influenza (“Flu”) Vaccine;
                                            *            Guillain-Barré Syndrome (“GBS”).
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
* * * * * * * * * * * * * * * *
Elizabeth M. Muldowney, Rawls, McNelis and Mitchell, P.C., Richmond, VA, for Petitioner.
Michael P. Milmoe, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION1

        On August 29, 2014, Michelene Falsini (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered on November 14, 2011
caused her to develop Guillain-Barré Syndrome (“GBS”). Petition (“Pet.”) at 1-6.

        On February 1, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Stipulation, ECF No. 31. Respondent denies that the
flu vaccine caused Petitioner’s condition or any other injury, and “further denies that
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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[P]etitioner’s current disabilities are sequelae of a vaccine-related injury.” Id. at 2. However,
the parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds
the stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

           a) A lump sum of $7,660.02, which amount represents reimbursement of a
              Commonwealth of Massachusetts Medicaid lien, in the form of a check
              payable jointly to Petitioner, and

                              Commonwealth of Massachusetts- CRU
                              Commonwealth of MA
                              Casualty Recovery
                              P.O. Box 147811
                              Boston, MA 02241-7811

                Petitioner agrees to endorse this check to the appropriate State agency.

           b) A lump sum of $92,339.98, in the form of a check payable to Petitioner,
              representing all remaining damages available under 42 U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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